CaS€ 8-18-72971-&8'[ DOC 28 Filed 09/12/18 Entered 09/12/18 17231:04

THE Y1TZHA1< LAW GROUP

ER1CA T. YITZHAK ATTORNEYS AT LAW
LAVINIA A. ACARU
September 12, 2018
Hon. Alan S. Trust
United States Bankruptcy Court
Eastern District of New York
Alfonse M. D'Amato F ederal Courthouse
290 F ederal Plaza
Central Islip, New York 11722
Re: Nola Elizabeth Thacker. Case No. 18~72971

Dear Hon. Trust,

This office represents the Debtor, Nola Elizabeth Thacker in the above-mentioned
case.

On or about August 6, 2018, Debtor filed a motion for Sale of Property under Sec.

363 (b). Please allow this letter to confirm that We are Withdrawing this Motion.

Thank you for your attention in this matter.

Very truly yours,

Lagia/: Acaru §§

 

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